                           Case 5:17-cv-07305-EJD Document 158 Filed 10/25/19 Page 1 of 2



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                       APPLE INC.
             10

             11                                      UNITED STATES DISTRICT COURT

             12                                     NORTHERN DISTRICT OF CALIFORNIA

             13        RAJA KANNAN,                                    Case No. 5:17-cv-07305-EJD (VKD)
             14                        Plaintiff,                      DEFENDANT APPLE INC.’S
                                                                       STATEMENT RE PLAINTIFF’S
             15               v.                                       BONUS/STOCK AWARD
             16        APPLE INC.,
             17                        Defendant.                      Complaint Filed:   December 26, 2017
                                                                       FAC Filed:         May 10, 2018
             18                                                        SAC Filed:         October 19, 2018
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                                   DEFENDANT APPLE INC.’S STATEMENT RE PLAINTIFF’S BONUS/STOCK AWARD
                            Case 5:17-cv-07305-EJD Document 158 Filed 10/25/19 Page 2 of 2



               1              Pursuant to the Order of Magistrate Judge Virginia DeMarchi (Dkt. 155), Defendant APPLE

               2       INC. (“Apple” or “Defendant”), by and through its respective counsel of record, hereby respectfully

               3       submits its statement regarding Plaintiff’s bonus/stock award.

               4              Apple has produced as APL-KANNAN_0002085 an email between Heather Ramirez, former

               5       Senior Human Resources Manager, and Moazam Raja dated August 27, 2013 in which Mr. Raja

               6       requested to transfer a bonus from Plaintiff to another employee based on information that Mr. Raja

               7       received that morning. Mr. Raja conducted a search of his email and text messages and has no

               8       correspondence from the time period regarding this matter. As Ms. Ramirez has not been employed

               9       at Apple since approximately August 2016, Apple conducted a search of her emails and did not find

             10        any additional documents on this issue. Apple also searched the emails of Ms. Ramirez’s successor

             11        as well but did not locate any relevant information. Indeed, this email exchange occurred over 6 years

             12        ago. Since his deposition, Mr. Raja himself does not believe there is any other source of information

             13        that would refresh his recollection as to why he made the decision to transfer Plaintiff’s bonus.

             14               Apple contends that the decision to move Mr. Kannan’s bonus in 2013 is time barred, and has

             15        no bearing on any of the claims he has asserted to date. Apple will continue to conduct a diligent

             16        search to understand whether there are any other sources of evidence that may provide additional

             17        insight, or may refresh Mr. Raja’s recollection into his decision to move the bonus to another person,

             18        and will update opposing counsel and this Court if any such information is located.

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                        Dated: October 25, 2019                              BAKER & MCKENZIE LLP
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                                                                             By: //s//Todd K. Boyer
             23                                                                 Todd K. Boyer
                                                                                Caroline Pham
             24                                                                 Attorney for Defendant
                                                                                APPLE INC.
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